                                                           1    Christopher H. Bayley (#010764)
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                                                           2    James G. Florentine (#034058)
                                                                Molly J. Kjartanson (#034063)
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                                                                One Arizona Center
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                                                                Attorneys for Debtor Santa Clarita, LLC
                                                           8
                                                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                           9
                                                                                         FOR THE DISTRICT OF ARIZONA
                                                          10    In Re:                                           Proceedings Under Chapter 11
                                                          11    SANTA CLARITA, LLC,                              Case No. 2:20-bk-12402-MCW
                                                          12                         Debtor.                     Adv. No.
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                                                          13                                                     COMPLAINT
                                                                SANTA CLARITA, LLC, a Delaware
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                                                                limited liability company; BERMITE
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                                                          14
                                                                RECOVERY, LLC, a Delaware limited
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                                                          15    liability company; REMEDIATION
                                                                FINANCIAL, INC., an Arizona
                                                          16    corporation,

                                                          17                         Plaintiffs,

                                                          18    v.

                                                          19    CITY OF SANTA CLARITA, a
                                                                California political subdivision; BLUE
                                                          20    OX HOLDINGS, LLC, a Delaware
                                                                limited liability company; 33 NORTH
                                                          21    DEVELOPMENT GROUP, a California
                                                                corporation,
                                                          22
                                                                                     Defendants.
                                                          23
                                                                      Plaintiffs Santa Clarita, LLC (“Debtor” or “SCLLC”), Bermite Recovery, LLC
                                                          24
                                                          25   (“Bermite”), and Remediation Financial, Inc. (“RFI”, and together with the Debtor and
                                                          26   Bermite, the “Plaintiffs”) for their complaint against the City of Santa Clarita (“City”), Blue
                                                          27
                                                               Ox Holdings, LLC (“Blue Ox”), and 33 North Development Group (“33 North”, and
                                                          28


                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                       Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                      Main Document    Page 1 of 27
                                                           1   together with Blue Ox and the City, the “Defendants”) hereby allege, aver, and state as
                                                           2
                                                               follows:
                                                           3
                                                           4                                  NATURE OF THE ACTION

                                                           5
                                                                      The City, Blue Ox, and 33 North are hindering Plaintiffs’ ability to sell the Property
                                                           6
                                                               to Prologis. Plaintiffs bring this action to alert the Court and Defendants that Defendants’
                                                           7
                                                           8   pattern of obfuscating and derailing Plaintiffs’ efforts to obtain funding sources to retire

                                                           9   debts, pay property taxes, develop the Property, and sell the Property must end.
                                                          10
                                                               Specifically, Plaintiffs seek damages, in an amount to be proven at trial, for Defendants’
                                                          11
                                                               inference with Plaintiffs’ efforts to develop and/or sell the Property.
                                                          12
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                                                                      Since approximately 2017, Plaintiffs have actively sought out funding sources to,
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                                                          13
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                                                          14   among other things, retire all debts on the Property (defined below), pay all property taxes,
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                                                          15
                                                               and develop the Property.       Numerous lenders, joint venture partners, and potential
                                                          16
                                                               purchasers were interested in partnering with the Plaintiffs to develop the Property and/or
                                                          17
                                                          18   purchase the Property. As detailed below, the Defendants actively conspired to derail the

                                                          19   Plaintiffs from obtaining financing and develop the Property. The City and Blue Ox
                                                          20
                                                               repeatedly made false statements regarding the ownership of the Property, the status of the
                                                          21
                                                               entitlements on the Property, and Blue Ox’s interest in the Property. The actions of the
                                                          22
                                                          23   Defendants forced the Debtor to file the Administrative Case (defined below) and seek relief

                                                          24   under Chapter 11 of the Bankruptcy Code. But for Defendants continuing and pervasive
                                                          25
                                                               actions to hinder, delay, and derail Plaintiffs efforts to retire all debts on the Property, and
                                                          26
                                                               develop and/or sell the Property, the Debtor would not have filed the Administrative Case
                                                          27
                                                          28   and the Debtor and Bermite would have developed or sold the Property for an amount in

                                                                                                          2
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                       Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                      Main Document    Page 2 of 27
                                                           1   excess of $286 million.
                                                           2
                                                                                      PARTIES, JURISDICTION, AND VENUE
                                                           3
                                                                      1.     The SCLLC is the debtor in Case No. 2:20-bk-12402-MCW (the
                                                           4
                                                           5   “Administrative Case”) and is a Delaware limited liability company.

                                                           6          2.     Pursuant to 11 U.S.C. §§ 1107(a) and 1110, the Debtor is managing its
                                                           7
                                                               business, assets, and bankruptcy estate as a debtor-in-possession.
                                                           8
                                                                      3.     Bermite is a Delaware limited liability company.
                                                           9
                                                          10          4.     RFI is an Arizona corporation and is the sole member of the Debtor and

                                                          11   Bermite.
                                                          12
                                                                      5.     The City is a municipality chartered and existing under the laws of the State
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                                                          13
                                                               of California and is a political subdivision of the State of California.
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                                                          15          6.     On February 19, 2021, the City, through counsel, appeared in the

                                                          16   Administrative Case and requested notice of papers served in the Administrative Case. See
                                                          17
                                                               Case No. 2:20-bk-12402-MCW at Dkt. No. 93.
                                                          18
                                                                      7.     This Court has personal jurisdiction over the City.
                                                          19
                                                          20          8.     Upon information and belief, Defendant Blue Ox is a Delaware limited

                                                          21   liability company and is an affiliate of 33 North.
                                                          22
                                                                      9.     As a result of, among other things, Blue Ox’s actions described herein and
                                                          23
                                                               Blue Ox’s appearances and participation in the Administrative Case, this Court has personal
                                                          24
                                                          25   jurisdiction over Blue Ox.

                                                          26          10.    Upon information and belief, Defendant 33 North is a California corporation
                                                          27   and is an affiliate of Blue Ox.
                                                          28
                                                                                                          3
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                       Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41         Desc
                                                                                      Main Document    Page 3 of 27
                                                           1           11.   As a result of, among other things, 33 North’s actions described herein and
                                                           2
                                                               33 North’s principal(s)’ participation in the Administrative Case, this Court has personal
                                                           3
                                                               jurisdiction over 33 North.
                                                           4
                                                           5           12.   This Court has jurisdiction to hear this adversary proceeding as the claims

                                                           6   asserted by Plaintiffs are core proceedings under 28 U.S.C. §§ 157(b)(2)(A) and (O) and
                                                           7
                                                               1334. To the extent that any of the claims in this adversary proceeding are non-core
                                                           8
                                                               proceedings, Plaintiffs consent to the entry of final orders or judgments by this Court.
                                                           9
                                                          10           13.   This judicial district is the proper venue for this adversary proceeding under

                                                          11   28 U.S.C. §§ 1408 and 1409, as this adversary proceeding arises under, and is in connection
                                                          12
                                                               with, the Administrative Case, which is currently pending before this Court in this judicial
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                                                          13
                                                               district.
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                                                          15     THE SPECIFIC PLAN, DEVELOPMENT AGREEMENT, AND PLAINTIFFS’

                                                          16                            ACQUISITION OF THE PROPERTY
                                                          17
                                                                       14.   On or about April 25, 1995, the City and Whittaker Porta Bella Development,
                                                          18
                                                               Inc. (“Whittaker Porta Bella”) executed that certain Porta Bella Specific Plan (the “Specific
                                                          19
                                                          20   Plan”) to entitle a master planned community on the Property (as defined below).

                                                          21           15.   On or about March 28, 1996, the City and Whittaker Porta Bella
                                                          22
                                                               Development, Inc. executed that certain “Development Agreement By and Between The
                                                          23
                                                               City of Santa Clarita and Whittaker Porta Bella Development, Inc.”, recorded with the Los
                                                          24
                                                          25   Angeles County Recorder at Number 96-535033 (the “Development Agreement”). A true

                                                          26   and correct copy of the Development Agreement is attached hereto as Exhibit 1.
                                                          27           16.   The Development Agreement vested Whittaker Porta Bella with the right to,
                                                          28
                                                                                                         4
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 4 of 27
                                                           1   among other things, develop the Property.
                                                           2
                                                                     17.    In 1998, RFI formed the Debtor.
                                                           3
                                                                     18.    RFI formed the Debtor for the sole purpose of acquiring that certain real
                                                           4
                                                           5   property which consists of approximately 972 acres of undeveloped land generally located

                                                           6   at 221116 Soledad Canyon Road, Santa Clarita, California 91350 (the “SCLLC Parcel”).
                                                           7
                                                                     19.    Thereafter, the Debtor purchased the SCLLC Parcel from Whittaker
                                                           8
                                                               Corporation (“Whittaker”).
                                                           9
                                                          10         20.    Upon the Debtor’s purchase of the SCLLC Parcel from Whittaker, Whittaker

                                                          11   Porta Bella assigned its interest in the Development Agreement to Plaintiffs.
                                                          12
                                                                     21.    In addition to forming the Debtor, RFI also formed Bermite in 1998.
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                                                          13
                                                                     22.    RFI originally formed Bermite to acquire certain non-real estate assets
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                                                          15   contemporaneously with the Debtor’s acquisition of the Property from Whittaker.

                                                          16         23.    After Bermite’s formation, the Debtor’s transaction with Whittaker was
                                                          17
                                                               amended, thereby obviating Bermite’s originally contemplated role.
                                                          18
                                                                     24.    In or around March 2000, Bermite acquired title to approximately 32 acres of
                                                          19
                                                          20   real property adjacent to the SCLLC Parcel from Whittaker (the “Bermite Parcel”, and

                                                          21   together with the SCLLC Parcel, the “Property”).
                                                          22
                                                                     25.    The Debtor and Bermite are the current owners of the Property.
                                                          23
                                                                                         THE ALLEGED BLUE OX DEBT
                                                          24
                                                                     26.    On or about December 7, 1998, the Debtor and Porta Bella Lender, LLC
                                                          25
                                                          26   (“PBL”) executed that certain “Loan Agreement” (the “PBL Loan Agreement”). A true

                                                          27   and correct copy of the PBL Loan Agreement is attached hereto as Exhibit 2.
                                                          28
                                                                                                        5
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41           Desc
                                                                                     Main Document    Page 5 of 27
                                                           1          27.      Pursuant to the PBL Loan Agreement, PBL agreed to make a loan to Plaintiff
                                                           2
                                                               in the amount of up to $35 million dollars (the “PBL Loan”). See Ex. 2 at p. 1.
                                                           3
                                                                      28.      To evidence the PBL Loan, on or about December 7, 1998, the Debtor
                                                           4
                                                           5   executed that certain “Nonrecourse Secured Promissory Note” in PBL’s favor (the “PBL

                                                           6   Promissory Note”). A true and correct copy of the PBL Promissory Note is attached hereto
                                                           7
                                                               as Exhibit 3.
                                                           8
                                                                      29.      Pursuant to the PBL Promissory Note, the Debtor agreed to pay PBL “the
                                                           9
                                                          10   principal sum of Thirty-Five Million and no/100 Dollars (U.S.) ($35,000,000) or so much

                                                          11   thereof as may be advanced and outstanding, together with interest on each advance from
                                                          12
                                                               the date it is disbursed until the date it is repaid[.]” See Ex. 3 at p. 1.
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                                                          13
                                                                      30.      On or about January 3, 1999, the Debtor executed that certain “Deed of Trust
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                                                          15   with Assignment of Rents, Security Agreement and Fixture Filing” (the “PBL Deed of

                                                          16   Trust”, and together with the PBL Loan Agreement and PBL Promissory Note, the “PBL
                                                          17
                                                               Loan Documents”). A true and correct copy of the PBL Deed of Trust is attached hereto as
                                                          18
                                                               Exhibit 4.
                                                          19
                                                          20          31.      The PBL Deed of Trust was recorded on January 11, 1999 as Document No.

                                                          21   XX-XXXXXXX with the Office of the Recorder of Los Angeles County, California.
                                                          22
                                                                      32.      On or about February 29, 2000, the Debtor and Bermite obtained a loan in the
                                                          23
                                                               original principal balance of $22.3 million (the “KFI Loan”) from Kennedy Funding, Inc.
                                                          24
                                                          25   (“KFI”).

                                                          26          33.      To evidence the KFI Loan, on or about February 29, 2000, the Debtor and
                                                          27   Bermite executed that certain “Promissory Note” in KFI’s favor (the “KFI Promissory
                                                          28
                                                                                                            6
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                        Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41         Desc
                                                                                       Main Document    Page 6 of 27
                                                           1   Note”). A true and correct copy of the KFI Promissory Note is attached hereto as Exhibit
                                                           2
                                                               5.
                                                           3
                                                                     34.    On or about February 26, 2000, the Debtor and Bermite executed that certain
                                                           4
                                                           5   “Deed of Trust, Assignment of Leases, Security Agreement, and Fixture Filing” (the “KFI

                                                           6   Deed of Trust”, and together with the KFI Promissory Note, the “KFI Loan Documents”).
                                                           7
                                                               A true and correct copy of the KFI Deed of Trust is attached hereto as Exhibit 6.
                                                           8
                                                                     35.    The KFI Deed of Trust was recorded on March 1, 2000 as Document No. 00-
                                                           9
                                                          10   0307235 with the Office of the Recorder of Los Angeles County, California.

                                                          11         36.    In or around March 2001, as a result of Steadfast Insurance Company
                                                          12
                                                               (“Steadfast”) remittance of $22.3 million to KFI pursuant to a certain lender insurance
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                                                          13
                                                               policy, KFI assigned the KFI Loan Documents to Steadfast.
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                                                          15         37.    To hold the KFI Loan, Steadfast formed Steadfast Santa Clarita Holdings,

                                                          16   LLC (“Steadfast Santa Clarita”).
                                                          17
                                                                     38.    On or about June 13, 2017, Blue Ox entered into that certain “Purchase and
                                                          18
                                                               Sale Agreement” (the “PBL Loan Acquisition Agreement”) with PBL. A true and correct
                                                          19
                                                          20   copy of the PBL Loan Acquisition Agreement is attached hereto as Exhibit 7.

                                                          21         39.    Pursuant to the PBL Loan Acquisition Agreement, Blue Ox acquired the PBL
                                                          22
                                                               Loan Documents.
                                                          23
                                                                     40.    At around the same time that Blue Ox entered into the PBL Loan Acquisition
                                                          24
                                                          25   Agreement, Steadfast Santa Clarita purportedly transferred (i) the KFI Loan Documents and

                                                          26   (ii) other amounts allegedly owing to Steadfast Santa Clarita pursuant to a settlement
                                                          27   agreement entered into between the Debtor and Knight Piesold & Company (the “Knight
                                                          28
                                                                                                        7
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41          Desc
                                                                                     Main Document    Page 7 of 27
                                                           1   Settlement Agreement”) to Blue Ox.
                                                           2
                                                                      41.       On or about June 13, 2017, Blue Ox became the alleged primary senior
                                                           3
                                                               secured creditor of, and lender to, the Debtor and Bermite, with all of the attendant rights,
                                                           4
                                                           5   duties, and obligations at law and equity of a secured creditor of, and lender to, the Debtor

                                                           6   and Bermite.
                                                           7
                                                                THE CITY CONFIRMS THAT THE DEVELOPMENT AGREEMENT’S TERM
                                                           8                  EXTENDS THROUGH JANUARY 1, 2021
                                                           9          42.       On or about October 22, 2019, Plaintiffs sent the City that certain “Request
                                                          10
                                                               for Certificate of Compliance Regarding Development Agreement By and Between The
                                                          11
                                                               City of Santa Clarita and Whittaker Porta Bella Development, Inc.” (the “Request for
                                                          12
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                                                               Certificate”).
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                                                          13
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                                                          14          43.       On or about November 4, 2019, the City sent Plaintiffs that certain “Response
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                                                          15
                                                               to Request for Certificate of Compliance Regarding Development Agreement By and
                                                          16
                                                               Between The City of Santa Clarita and Whittaker Porta Bella Development, Inc.” (the
                                                          17
                                                          18   “Response to Request for Certificate”). A true and correct copy of the Response to Request

                                                          19   for Certificate is attached hereto as Exhibit 8.
                                                          20
                                                                      44.       Pursuant to the Response to Request for Certificate, the City confirmed that
                                                          21
                                                               (i) the Development Agreement remained in effect through January 1, 2021 and (ii)
                                                          22
                                                          23   Plaintiffs were not in default under the Development Agreement. See Ex. 8.

                                                          24        DEFENDANTS’ INTERFERENCE WITH PLAINTIFFS’ PROSPECTIVE
                                                                     RELATIONSHIPS WITH POTENTIAL LENDERS, JOINT VENTURE
                                                          25
                                                                          PARTNERS, AND PURCHASERS OF THE PROPERTY
                                                          26
                                                                      45.       Beginning in or around 2017, Plaintiffs sought funding to, among other
                                                          27
                                                               things, take out the current debt on the property, pay all property taxes on the Property, and
                                                          28
                                                                                                           8
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                         Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41          Desc
                                                                                        Main Document    Page 8 of 27
                                                           1   develop the Property.
                                                           2
                                                                      46.    As part of this process, Plaintiffs met with potential lenders, joint venture
                                                           3
                                                               partners, and purchasers of the Property.
                                                           4
                                                           5          47.    On several occasions, Plaintiffs’ potential lenders, joint venture partners, and

                                                           6   purchasers contacted the City as part of their due diligence to confirm Plaintiffs’
                                                           7
                                                               representations regarding the Property’s entitlements were accurate.
                                                           8
                                                                      48.    Despite the fact that Plaintiffs have vested rights under the Development
                                                           9
                                                          10   Agreement, the City, upon information and belief, told the potential lenders, joint venture

                                                          11   partners, and purchasers and/or their agents and appraisers that the Property was not entitled
                                                          12
                                                               and that the entitlement process had to re-start in its entirety.
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                                                          13
                                                                      49.    Upon information and belief, the City’s statements to potential lenders, joint
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                                                          15   venture partners, and purchasers and/or their agents and appraisers were false.

                                                          16          50.    As the direct and proximate result of the City providing false information,
                                                          17
                                                               potential lenders, joint venture partners, and purchasers walked away from the Property and
                                                          18
                                                               declined to partner with, or provide financing to, Plaintiffs.
                                                          19
                                                          20          51.    For example, in the fourth quarter of 2018, Plaintiffs were in the process of

                                                          21   obtaining a loan from Silver Arch Capital Partners (“Silver Arch”).
                                                          22
                                                                      52.    Upon information and belief, during the time in which Plaintiffs were in the
                                                          23
                                                               process of obtaining a loan from Silver Arch, the City spoke with Silver Arch’s appraiser,
                                                          24
                                                          25   Tony Petruccello (“Petruccello”).

                                                          26          53.    As a result of the City’s discussions with Petruccello, Petruccello reported
                                                          27   that the entitlement timeline for the Property would likely be in excess of five years upon
                                                          28
                                                                                                           9
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                        Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41           Desc
                                                                                       Main Document    Page 9 of 27
                                                           1   environmental remediation (anticipated, at that time, in 2019).
                                                           2
                                                                      54.    Upon information and belief, the information the City provided to Petrucello
                                                           3
                                                               (and thus Silver Arch) was directly contrary to the accurate information that Plaintiffs
                                                           4
                                                           5   provided to Silver Arch regarding the status of the entitlements on the Property.

                                                           6          55.    Relying on the City’s false representations, Silver Arch declined to fund the
                                                           7
                                                               contemplated loan to Plaintiffs.
                                                           8
                                                                      56.    Thereafter, Plaintiffs began negotiations with other potential lenders and
                                                           9
                                                          10   capital partners, including, but not limited to, Clarion Capital Partners, LLC (“Clarion”).

                                                          11          57.    Plaintiffs accurately disclosed, among other things, the status of the
                                                          12
                                                               entitlements on the Property to Clarion.
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                                                          13
                                                                      58.    Upon information and belief, as part of Clarion’s due diligence, a
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                                                          15   representative of Clarion called Tom Cole, a representative of the City, to confirm the

                                                          16   entitlements on the Property.
                                                          17
                                                                      59.    Upon information and belief, Mr. Cole, on behalf of the City, made
                                                          18
                                                               intentional misstatements regarding, among other things, the status of the entitlements of
                                                          19
                                                          20   the Property to Clarion.

                                                          21          60.    Specifically, upon information and belief, Mr. Cole represented to Clarion,
                                                          22
                                                               among other things, that it’s a “complete start-over” for entitlements on the Property.
                                                          23
                                                                      61.    Upon information and belief, Clarion declined to further pursue a joint
                                                          24
                                                          25   venture agreement with Plaintiffs because of Mr. Cole’s (i.e., the City’s) intentionally false

                                                          26   and misleading statements to Clarion.
                                                          27          62.    At or around the same time that Clarion declined to partner with, or provide
                                                          28
                                                                                                          10
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 10 of 27
                                                           1   funding to, Plaintiffs, Clarion, upon information and belief, provided proprietary and
                                                           2
                                                               confidential project information to Mr. Cole without Plaintiffs’ permission.
                                                           3
                                                                      63.    Upon information and belief, Mr. Cole advised Clarion that he intended to
                                                           4
                                                           5   reach out to KB Home (“KB”) and Spirit Properties to inquire whether those entities’ letters

                                                           6   of intent regarding the Property were legitimate.
                                                           7
                                                                      64.    After Clarion declined to partner with, or provide financing to, Plaintiffs as a
                                                           8
                                                               result of the City’s intentionally false and misleading statements to Clarion, Plaintiffs
                                                           9
                                                          10   continued its efforts to secure financing for the Property.

                                                          11          65.    In late April 2020, one of Plaintiffs’ prospective lenders hired CBRE to
                                                          12
                                                               appraise the Property.
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                                                          13
                                                                      66.    Upon information and belief, James Chow, a representative of the City,
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                                                          15   represented to CBRE that the Property was not entitled and that it would have to go through

                                                          16   a new entitlement process.
                                                          17
                                                                      67.    Upon information and belief, Mr. Chow further represented that the “new
                                                          18
                                                               developer” for the Property would be 33 North.
                                                          19
                                                          20          68.    Upon information and belief, the City has provided false information to

                                                          21   Plaintiffs’ potential lenders, joint venture partners, and purchasers and/or their agents and
                                                          22
                                                               appraisers because the City wants to divest Plaintiffs of ownership of the Property.
                                                          23
                                                                      69.    Upon information and belief, the City wants 33 North and/or Blue Ox to own
                                                          24
                                                          25   and/or develop the Property.

                                                          26          70.    For example, in 2018, the City assisted Blue Ox in obtaining an “Agreement
                                                          27   and Covenant Not to Sue” (the “PPA”) with respect to the Property from the California
                                                          28
                                                                                                          11
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 11 of 27
                                                           1   Department of Toxic Substances Control (“DSTC”).
                                                           2
                                                                      71.    Upon information and belief, the City assisted Blue Ox in obtaining the PPA
                                                           3
                                                               despite the fact that Blue Ox does not own the Property.
                                                           4
                                                           5          72.    Upon information and belief, Blue Ox has represented that it owns, or will

                                                           6   soon own, the Property during quarterly meetings with the City.
                                                           7
                                                                      73.    Plaintiffs have instructed Mr. Cole that to have no further communications
                                                           8
                                                               with Blue Ox’s representatives regarding the Property.
                                                           9
                                                          10          74.    Upon information and belief, Mr. Cole and the City have ignored Plaintiffs’

                                                          11   requests and are working with Blue Ox on a new plan for Plaintiffs’ Property.
                                                          12
                                                                 THE CITY’S REJECTION OF RFI’S REQUEST FOR AN EXTENSION AND
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                                                                         PLAINTIFFS’ NOTICE OF DEFAULT TO THE CITY
                       Phoenix, Arizona 85004-2202




                                                          13
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                                                          14          75.    Section 7(i) of the Development Agreement provides that the term of the
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                                                          15
                                                               Development Agreement “shall extend twenty (20) years from the date of all conditions
                                                          16
                                                               have been satisfied, but in no event shall the Term expire later than January 1, 2021, unless
                                                          17
                                                          18   said Term is otherwise terminated, modified or extended as permitted or required by this

                                                          19   Agreement or by mutual consent of the parties hereto.” See Ex. 1, § 7(i).
                                                          20
                                                                      76.    Section 7(e) of the Development Agreement provides that the “Term of this
                                                          21
                                                               Agreement shall be extended by a period of time equal to the number of days during which
                                                          22
                                                          23   such party is prevented from, or is unreasonably interfered with….” See Ex. 1, ¶ 7(e).

                                                          24          77.    On or about July 23, 2020, RFI sent that certain “Request for Time Extension
                                                          25
                                                               and Certification of Compliance regarding Development Agreement Between the City of
                                                          26
                                                               Santa Clarity and Whittaker Porta Bella Development, Inc. (the “Development
                                                          27
                                                          28   Agreement”) with the extended Term” (the “Request for Time Extension”) to the City. A

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                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 12 of 27
                                                           1   true and correct copy of the Request for Time Extension is attached hereto as Exhibit 9.
                                                           2
                                                                       78.   Pursuant to the Request for Time Extension, RFI requested (i) an automatic
                                                           3
                                                               time extension to the Term (as defined in the Development Agreement) of the Development
                                                           4
                                                           5   Agreement, pursuant to Section 7(e) and 7(i) of the Development Agreement and (ii) an

                                                           6   updated letter confirming that the Term of the Development Agreement had been extended
                                                           7
                                                               through January 1, 2026. See Ex. 9.
                                                           8
                                                                       79.   On or about August 7, 2020, the City rejected RFI’s requests set forth in the
                                                           9
                                                          10   Request for Time Extension (the “Rejection of Request for Time Extension”).

                                                          11           80.   On or about October 15, 2020, Plaintiffs notified the City that the City was in
                                                          12
                                                               default under the Development Agreement (the “Notice of Default”). A true and correct
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                                                          13
                                                               copy of the Notice of Default is attached hereto as Exhibit 10.
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                                                          15    THE DEBTOR’S COMMENCEMENT OF THE ADMINISTRATIVE CASE AND
                                                                  PLAINTIFFS’ POST-PETITION NOTICE OF CLAIM AND NOTICE OF
                                                          16                        AUTOMATIC EXTENSION
                                                          17           81.   On or about November 12, 2020, the Debtor commenced the Administrative
                                                          18
                                                               Case.
                                                          19
                                                                       82.   On or about December 7, 2020, Plaintiffs, pursuant to California Government
                                                          20
                                                          21   Code §§ 810–996.6, asserted claims against the City for (i) wrongfully refusing to extend
                                                          22   the term of the Development Agreement, (ii) breach of good faith and fair dealing, (iii)
                                                          23
                                                               intentionally interfering with contractual relationships, and (iv) conspiring with Blue Ox
                                                          24
                                                               and 33 North to ensure those entities receive title to the Property (the “Notice of Claim”).
                                                          25
                                                          26   A true and correct copy of the Notice of Claim is attached hereto as Exhibit 11.

                                                          27           83.   On or about December 22, 2020, the Debtor notified the City that the
                                                          28
                                                                                                         13
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                     Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                    Main Document    Page 13 of 27
                                                           1   Development Agreement automatically was extended until January 1, 2024 (the “Notice of
                                                           2
                                                               Automatic Extension”). A true and correct copy of the Notice of Automatic Extension is
                                                           3
                                                               attached hereto as Exhibit 12.
                                                           4
                                                           5          84.    On or about January 4, 2021, the City rejected the claims Plaintiffs presented

                                                           6   in the Notice of Claim (the “Notice of Rejection”). A true and correct copy of the Notice
                                                           7
                                                               of Rejection is attached hereto as Exhibit 13.
                                                           8
                                                                   DEFENDANTS’ POST-PETITION INTERFERENCE WITH PLAINTIFFS’
                                                           9             PROPOSED SALE OF THE PROPERTY TO PROLOGIS
                                                          10
                                                                      85.    On February 10, 2021, the Debtor filed that certain Chapter 11 Plan of
                                                          11
                                                               Reorganization of Santa Clarita, LLC in the Administrative Case. See Dkt. No. 81.
                                                          12
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                                                                      86.    On May 19, 2021, the Debtor and Prologis, L.P. (“Prologis”) entered into that
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                                                          14   certain Purchase and Sale Agreement and Joint Escrow Instructions (the “PSA”) wherein
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                                                          15
                                                               Prologis agreed to purchase the Property for $286,000,000.
                                                          16
                                                                      87.    Thereafter, on June 2, 2021, the Debtor and Prologis entered into a First
                                                          17
                                                          18   Amendment to Purchase and Sale Agreement (the “Amended PSA”). A true and correct

                                                          19   copy of the Amended PSA is attached hereto as Exhibit 14.
                                                          20
                                                                      88.    The $286,000,000 purchase price for the Property under the Amended PSA
                                                          21
                                                               is severely impaired as a result of the City’s, Blue Ox’s, and 33 North’s interference with
                                                          22
                                                          23   Plaintiffs’ efforts to obtain financing for the Property.

                                                          24          89.    Plaintiffs are informed and believe that the true value of the Property is well
                                                          25
                                                               in excess of $286,000,000.
                                                          26
                                                                      90.    The City, Blue Ox, and 33 North continue to interfere with Plaintiffs’
                                                          27
                                                          28   Property, specifically Plaintiffs’ sale of the Property to Prologis, post-petition.

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                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41                 Desc
                                                                                     Main Document    Page 14 of 27
                                                           1          91.    For example, in connection with its due diligence on the Property, Prologis
                                                           2
                                                               requires information from the City regarding, among other things, the entitlements on the
                                                           3
                                                               Property.
                                                           4
                                                           5          92.    In reliance on the mistaken belief that Plaintiffs do not have the appropriate

                                                           6   right, title, and interest in the Property (which is the subject of the Amended PSA), the City
                                                           7
                                                               refuses to interact with Prologis regarding the Property.
                                                           8
                                                                      93.    Indeed, upon information and belief, the City has repeatedly advised third
                                                           9
                                                          10   parties that it believes that Blue Ox either currently owns, or will soon own, the Property

                                                          11   even though Blue Ox is only a lender to, and disputed secured creditor of, the Debtor and
                                                          12
                                                               Bermite.
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                                                          13
                                                                      94.    The City refuses to provide information regarding the Property to Prologis
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                                                          15   unless (i) Prologis submits written questions to the City for the City to answer at some point

                                                          16   in the future or (ii) Plaintiffs and their principals agree to a waiver and release agreement
                                                          17
                                                               pursuant to which Plaintiffs and their principals “knowingly, voluntarily, freely, and
                                                          18
                                                               expressly assume[] the[] risks [of the City discussing the Property with Prologis], even to
                                                          19
                                                          20   the extent they arise from the active negligence and/or false statements of the City and/or

                                                          21   its agents or employees.”
                                                          22
                                                                      95.    By way of further example, on or about May 19, 2021, Michael Stern, a
                                                          23
                                                               principal of Blue Ox, contacted Prologis seeking to speak with a representative of Prologis
                                                          24
                                                          25   regarding the PSA.

                                                          26          96.    Brendan Kotler, Prologis’ Senior Vice President of Capital Deployment, and
                                                          27   Blake Kelley, Prologis’ Vice President and Investment Officer, returned Mr. Stern’s call.
                                                          28
                                                                                                          15
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 15 of 27
                                                           1          97.    Upon information and belief, Mr. Stern tried to persuade Prologis (i.e., Mr.
                                                           2
                                                               Kotler and Mr. Kelley) that Prologis would not be able satisfy the conditions for closing of
                                                           3
                                                               the PSA.
                                                           4
                                                           5          98.    Upon information and belief, Defendants’ post-petition actions are in

                                                           6   furtherance of their plan to divest Plaintiffs of control of the Property so that Blue Ox and/or
                                                           7
                                                               33 North obtain ownership of the Property.
                                                           8
                                                                                                         COUNT I
                                                           9
                                                                             (Tortious Interference with Prospective Business Advantage)
                                                          10
                                                          11                              (Plaintiffs v. The City and Blue Ox)

                                                          12          99.    Plaintiffs repeat and reallege each and every assertion of its Complaint as if
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                                                          13   set forth herein.
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                                                                      100.   Plaintiffs had prospective economic relationships with potential lenders, joint
                                                          15
                                                               venture partners, and purchasers of the Property, including, but not limited to, Silver Arch,
                                                          16
                                                          17   Clarion, and Prologis.
                                                          18          101.   Plaintiffs’ economic relationships with potential lenders, joint venture
                                                          19
                                                               partners, and purchasers of the Property, including, but not limited to, Silver Arch, Clarion,
                                                          20
                                                               and Prologis, likely would have provided future economic benefit to Plaintiffs because those
                                                          21
                                                          22   entities would have provided Plaintiffs with, among other things, financing for the Property.
                                                          23          102.   Upon information and belief, the City and Blue Ox were aware of Plaintiffs’
                                                          24
                                                               prospective economic relationships with potential lenders, joint venture partners, and
                                                          25
                                                               purchasers of the Property, including, but not limited to, Silver Arch, Clarion, and Prologis.
                                                          26
                                                          27          103.   The City and Blue Ox intentionally took the improper actions set forth herein

                                                          28   to disrupt Plaintiffs’ prospective economic relationships with potential lenders, joint
                                                                                                          16
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41              Desc
                                                                                     Main Document    Page 16 of 27
                                                           1   venture partners, and purchasers of the Property, including, but not limited to, Silver Arch,
                                                           2
                                                               Clarion, and Prologis.
                                                           3
                                                                      104.   Indeed, upon information and belief, the City intentionally made false and
                                                           4
                                                           5   misleading statements to Silver Arch, Clarion, and others because, upon information and

                                                           6   belief, the City wants to divest Plaintiffs of the Property and wants Blue Ox and/or 33 North
                                                           7
                                                               to own the Property.
                                                           8
                                                                      105.   The City also refused to provide information regarding the Property to
                                                           9
                                                          10   Prologis unless (i) Prologis submits written questions to the City for the City to answer at

                                                          11   some point in the future or (ii) Plaintiffs and their principals agree to a waiver and release
                                                          12
                                                               agreement pursuant to which Plaintiffs and their principals “knowingly, voluntarily, freely,
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                                                          13
                                                               and expressly assume[] the[] risks [of the City discussing the Property with Prologis], even
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                                                          15   to the extent they arise from the active negligence and/or false statements of the City and/or

                                                          16   its agents or employees” because, upon information and belief, the City does not want
                                                          17
                                                               Plaintiffs to sell the Property to Prologis. Instead, the City wants Blue Ox and/or 33 North
                                                          18
                                                               to own the Property.
                                                          19
                                                          20          106.   Upon information and belief, Blue Ox has also made intentionally false

                                                          21   statements regarding its ownership of the Property at quarterly meetings with the City in an
                                                          22
                                                               effort to, among other things, disrupt Plaintiffs’ efforts to obtain financing for the Property.
                                                          23
                                                                      107.   Additionally, Mr. Stern of Blue Ox contacted Mr. Kotler of Prologis on or
                                                          24
                                                          25   about May 19, 2021 because, upon information and belief, Blue Ox wants to dissuade

                                                          26   Prologis from purchasing the Property.
                                                          27          108.   The City’s and Blue Ox’s actions described herein, including, but not limited
                                                          28
                                                                                                          17
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                       Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                      Main Document    Page 17 of 27
                                                           1   to, the City’s false and misleading statements to Silver Arch, Clarion, and others, and Blue
                                                           2
                                                               Ox’s false statements regarding, among other things, its ownership of the Property, caused
                                                           3
                                                               Silver Arch, Clarion, and others to decline to partner with, or provide funding to, Plaintiffs.
                                                           4
                                                           5          109.   The City and Blue Ox’s actions described herein, including, but not limited

                                                           6   to, the City’s false and misleading statements regarding the entitlements on the Property
                                                           7
                                                               and Blue Ox’s false statements regarding, among other things, its ownership of the Property,
                                                           8
                                                               also impaired the purchase price of the Property under the Amended PSA.
                                                           9
                                                          10          110.   The City’s and Blue Ox’s actions described herein have proximately caused

                                                          11   economic harm to Plaintiffs in an amount to be determined at trial because the City’s and
                                                          12
                                                               Blue Ox’s actions caused Silver Arch, Clarion, and others to decline to partner with, or
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                       Phoenix, Arizona 85004-2202




                                                          13
                                                               provide funding to, Plaintiffs and because the City’s and Blue Ox’s actions impaired the
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                                                          15   proposed purchase price of the Property under the Amended PSA.

                                                          16          WHEREFORE, Plaintiffs pray for judgment and other relief against the City and
                                                          17
                                                               Blue Ox as follows:
                                                          18
                                                                          a. A judgment in an amount to be determined at trial due to the City’s and Blue
                                                          19
                                                          20                 Ox’s tortious interference with Plaintiffs’ prospective business advantages.

                                                          21              b. Such other relief as the Court deems just and proper under the circumstances.
                                                          22
                                                                                                        COUNT II
                                                          23
                                                                   (Civil Conspiracy to Commit Tortious Interference with Prospective Business
                                                          24                                      Advantage)
                                                          25                                    (Plaintiffs v. Defendants)
                                                          26
                                                                      111.   Plaintiffs repeat and reallege each and every assertion of its Complaint as if
                                                          27
                                                               set forth herein.
                                                          28
                                                                                                          18
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                     Main Document    Page 18 of 27
                                                           1          112.   Upon information and belief, the City, Blue Ox, and 33 North agreed to
                                                           2
                                                               accomplish an unlawful purpose by unlawful means and thereby agreed to accomplish a tort
                                                           3
                                                               when Blue Ox and 33 North wrongfully conspired with the City to interfere with Plaintiffs’
                                                           4
                                                           5   prospective economic relationships with potential lenders, joint venture partners, and

                                                           6   purchasers of the Property, including, but not limited to, Silver Arch, Clarion, and Prologis.
                                                           7
                                                                      113.   Upon information and belief, the City, Blue Ox, and 33 North conspired to
                                                           8
                                                               interfere with Plaintiffs’ prospective economic relationships with potential lenders, joint
                                                           9
                                                          10   venture partners, and purchasers of the Property, including, but not limited to, Silver Arch,

                                                          11   Clarion, and Prologis because Blue Ox and 33 North want to take the Property for
                                                          12
                                                               themselves and the City wants Blue Ox and/or 33 North to become the owner of the
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                                                          13
                                                               Property.
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                                                          15          114.   The City, Blue Ox, and 33 North’s wrongful agreement is evidenced by the

                                                          16   City’s role in assisting Blue Ox in its efforts to obtain the PPA from the DTSC.
                                                          17
                                                                      115.   Upon information and belief, the City, Blue Ox, and 33 North’s wrongful
                                                          18
                                                               agreement is further evidenced by Blue Ox’s representations at quarterly meetings with the
                                                          19
                                                          20   City that it is the owner of the Property.

                                                          21          116.   Defendants committed a wrongful act pursuant to their agreement when the
                                                          22
                                                               City interfered with Plaintiffs’ economic relationships with potential lenders, joint venture
                                                          23
                                                               partners, and purchasers of the Property, including, but not limited to, Silver Arch, Clarion,
                                                          24
                                                          25   and Prologis as described herein.

                                                          26          117.   Defendants’ actions described herein have proximately caused economic
                                                          27   harm to Plaintiffs in an amount to be determined at trial because the City’s actions caused
                                                          28
                                                                                                            19
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 19 of 27
                                                           1   Silver Arch, Clarion, and others to decline to partner with, or provide funding to, Plaintiffs
                                                           2
                                                               and because Defendants’ actions impaired the proposed purchase price of the Property
                                                           3
                                                               under the Amended PSA.
                                                           4
                                                           5          WHEREFORE, Plaintiffs pray for judgment and other relief against the City as

                                                           6   follows:
                                                           7
                                                                          a. A judgment in an amount to be determined at trial due to Defendants’
                                                           8
                                                                             conspiracy to tortiously interfere with Plaintiffs’ prospective business
                                                           9
                                                          10                 advantages.

                                                          11              b. Such other and further relief as this Court or other trier of fact deems just and
                                                          12
                                                                             appropriate under the circumstances.
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          Wilmer
                       Phoenix, Arizona 85004-2202




                                                          13
                                                                                                       COUNT III
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                                                                          (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                                          15
                                                          16                                      (Plaintiffs v. the City)

                                                          17          118.   Plaintiffs repeats and realleges each and every assertion of its Complaint as if
                                                          18   set forth herein.
                                                          19
                                                                      119.   Plaintiffs, through the assignment of the Development Agreement from
                                                          20
                                                               Whittaker Porta Bella, are parties to the Development Agreement with the City.
                                                          21
                                                          22          120.   Plaintiffs have fulfilled their obligations under the Development Agreement.
                                                          23          121.   Indeed, pursuant to the Response to Request for Certificate, the City
                                                          24
                                                               acknowledged as of November 4, 2019 that Plaintiffs were not in default under the
                                                          25
                                                               Development Agreement.
                                                          26
                                                          27          122.   There are not any unfulfilled conditions under the Development Agreement

                                                          28   preventing the City’s performance under the Development Agreement.
                                                                                                          20
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                     Main Document    Page 20 of 27
                                                           1          123.   As a result of the City’s actions described herein, the City has taken actions
                                                           2
                                                               that have prevented Plaintiffs from receiving the benefits under the Development
                                                           3
                                                               Agreement.
                                                           4
                                                           5          124.   For example, as described herein, the City, upon information and belief,

                                                           6   intentionally made false and misleading statements to Silver Arch, Clarion, and others
                                                           7
                                                               regarding, among other things, the entitlements on the Property in order to prevent Plaintiffs
                                                           8
                                                               from (i) obtaining financing for the Property and (ii) ultimately developing the Property as
                                                           9
                                                          10   permitted under the Development Agreement.

                                                          11          125.   By way of further example, the City wrongfully refused to agree that the
                                                          12
                                                               Development Agreement has been extended until January 1, 2026.
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          Wilmer
                       Phoenix, Arizona 85004-2202




                                                          13
                                                                      126.   In taking such actions, the City has not acted fairly or in good faith.
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                                                          15          127.   The City’s actions described herein have proximately caused economic harm

                                                          16   to Plaintiffs in an amount to be determined at trial because, among other things, the City’s
                                                          17
                                                               actions have interfered with Plaintiffs’ ability to develop the Property and to obtain
                                                          18
                                                               financing for the Property.
                                                          19
                                                          20          WHEREFORE, Plaintiffs pray for judgment and other relief against the City as

                                                          21   follows:
                                                          22
                                                                          a. A judgment in an amount to be determined at trial due to the City’s breach of
                                                          23
                                                                             the covenant of good faith and fair dealing.
                                                          24
                                                          25              b. For an award of attorneys’ fees and costs pursuant to, among other things, the

                                                          26                 Development Agreement.
                                                          27              c. Such other and further relief as this Court or other trier of fact deems just and
                                                          28
                                                                                                          21
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                     Main Document    Page 21 of 27
                                                           1                 appropriate under the circumstances.
                                                           2
                                                                                                       COUNT IV
                                                           3
                                                                          (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                                           4
                                                                                           (Debtor and Bermite v. Blue Ox)
                                                           5
                                                                      128.   Plaintiffs repeats and realleges each and every assertion of its Complaint as if
                                                           6
                                                           7   set forth herein.
                                                           8          129.   To the extent that Blue Ox acquired the PBL Loan Documents from PBL and
                                                           9
                                                               the Knight Settlement Agreement from Steadfast Santa Clarita, the Debtor and Blue Ox are
                                                          10
                                                               parties to the PBL Loan Documents and the Knight Settlement Agreement.
                                                          11
                                                          12          130.   To the extent that Blue Ox acquired the KFI Loan Documents from Steadfast
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          Wilmer
                       Phoenix, Arizona 85004-2202




                                                          13   Santa Clarita, the Debtor, Bermite, and Blue Ox are parties to the KFI Loan Documents.
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                                                                      131.   The Debtor under the PBL Loan Documents and the Knight Settlement
                                                          15
                                                               Agreement and the Debtor and Bermite under the KFI Loan Documents have complied with
                                                          16
                                                          17   those agreements except as their performance under those agreements has been excused.
                                                          18          132.   There are not any unfulfilled conditions under the PBL Loan Documents,
                                                          19
                                                               Knight Settlement Agreement, and KFI Loan Documents preventing Blue Ox’s
                                                          20
                                                               performance under those agreements.
                                                          21
                                                          22          133.   As a result of Blue Ox’s actions described herein, Blue Ox has taken actions
                                                          23   that have prevented the Debtor under the PBL Loan Documents and Knight Settlement and
                                                          24
                                                               the Debtor and Bermite under the KFI Loan Documents from receiving the benefits under
                                                          25
                                                               those agreements.
                                                          26
                                                          27          134.   For example, as described herein, upon information and belief, Blue Ox has

                                                          28   wrongfully conspired with the City and 33 North to divest Plaintiffs of ownership of the
                                                                                                         22
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 22 of 27
                                                           1   Property so that Blue Ox and/or 33 North can take the Property from themselves.
                                                           2
                                                                      135.   Upon information and belief, Blue Ox has also wrongfully represented at
                                                           3
                                                               quarterly meetings with the City that it is the owner of the Property.
                                                           4
                                                           5          136.   Blue Ox also wrongfully attempted to interfere with Plaintiffs’ sale of the

                                                           6   Property to Prologis when Mr. Stern of Blue Ox contacted Prologis on or about May 19,
                                                           7
                                                               2021 and, upon information and belief, tried to persuade Prologis that it would not be able
                                                           8
                                                               to satisfy the conditions for closing of the PSA.
                                                           9
                                                          10          137.   In taking such actions, Blue Ox has not acted fairly or in good faith.

                                                          11          138.   Blue Ox’s actions described herein have proximately caused economic harm
                                                          12
                                                               the Debtor and Bermite in an amount to be determined at trial because, among other things,
                   One Arizona Center, 400 E. Van Buren
          Wilmer
                       Phoenix, Arizona 85004-2202




                                                          13
                                                               Blue Ox’s actions have interfered with Plaintiffs’ ability to develop the Property, obtain
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                                                          15   financing for the Property, and sell the Property to Prologis.

                                                          16          WHEREFORE, the Debtor and Bermite pray for judgment and other relief against
                                                          17
                                                               Blue Ox as follows:
                                                          18
                                                                         a. A judgment in an amount to be determined at trial due to Blue Ox’s breach of
                                                          19
                                                          20                 the covenant of good faith and fair dealing.

                                                          21             b. For an award of attorneys’ fees and costs pursuant to, among other things, the
                                                          22
                                                                             PBL Loan Documents and A.R.S. § 12-341, and A.R.S. § 12-341.01.
                                                          23
                                                                         c. Such other and further relief as this Court or other trier of fact deems just and
                                                          24
                                                          25                 appropriate under the circumstances.

                                                          26
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                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 23 of 27
                                                           1                                           COUNT V
                                                           2                                      (Breach of Contract)
                                                           3
                                                                                                 (Plaintiffs v. The City)
                                                           4
                                                                      139.   Plaintiffs repeats and realleges each and every assertion of its Complaint as if
                                                           5
                                                               set forth herein.
                                                           6
                                                           7          140.   Plaintiffs, through the assignment of the Development Agreement from
                                                           8   Whittaker Porta Bella, are parties to the Development Agreement with the City.
                                                           9
                                                                      141.   Plaintiffs have fulfilled their obligations under the Development Agreement.
                                                          10
                                                                      142.   Indeed, pursuant to the Response to Request for Certificate, the City
                                                          11
                                                          12   acknowledged as of November 4, 2019 that Plaintiffs were not in default under the
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                       Phoenix, Arizona 85004-2202




                                                          13   Development Agreement.
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                                                                      143.   The City breached the Development Agreement by, among other things,
                                                          15
                                                               failing and refusing to acknowledge that the Development Agreement had been extended
                                                          16
                                                          17   through January 1, 2026 when it sent Plaintiffs the Rejection of Request for Time Extension.
                                                          18          144.   The City’s breach of the Development Agreement has proximately caused
                                                          19
                                                               damages to Plaintiffs in an amount to be determined at trial because, among other things,
                                                          20
                                                               Plaintiffs’ breach of the Development Agreement has interfered with Plaintiffs’ ability to
                                                          21
                                                          22   develop the Property, obtain financing for the Property, and sell the Property to Prologis.
                                                          23          WHEREFORE, Plaintiffs pray for judgment and other relief against the City as
                                                          24
                                                               follows:
                                                          25
                                                                          a. A judgment in an amount to be determined at trial due to the City’s breach of
                                                          26
                                                          27                 the Development Agreement.

                                                          28              b. For an award of attorneys’ fees and costs pursuant to, among other things, the
                                                                                                         24
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 24 of 27
                                                           1                 Development Agreement.
                                                           2
                                                                          c. Such other and further relief as this Court or other trier of fact deems just and
                                                           3
                                                                             appropriate under the circumstances.
                                                           4
                                                           5                                            COUNT V

                                                           6                                       (Declaratory Relief)
                                                           7                                      (Plaintiffs v. The City)
                                                           8
                                                                      145.   Plaintiffs repeats and realleges each and every assertion of its Complaint as if
                                                           9
                                                               set forth herein.
                                                          10
                                                          11          146.   As described herein, the City has unreasonably interfered with, among other

                                                          12   things, Plaintiffs’ efforts to obtain financing for the Property, develop the Property, and/or
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                       Phoenix, Arizona 85004-2202




                                                          13
                                                               sell the Property.
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                                                                      147.   As set forth in the Request for Time Extension, the City’s unreasonable
                                                          15
                                                          16   interference with Plaintiffs’ efforts to obtain financing for the Property, develop the

                                                          17   Property, and/or sell the Property resulted in an automatic extension of the Term of the
                                                          18
                                                               Development Agreement pursuant to Sections 7(e) and (i) of the Development Agreement
                                                          19
                                                               to January 1, 2026.
                                                          20
                                                          21          148.   The City disputes that the Term of the Development Agreement has been

                                                          22   automatically extended to January 1, 2026 pursuant to Sections 7(e) and (i) of the
                                                          23
                                                               Development Agreement.
                                                          24
                                                                      149.    A ripe, continuing, actual, and justiciable controversy has arisen between
                                                          25
                                                          26   Plaintiffs and the City regarding the Term of the Development Agreement.

                                                          27          150.    Pursuant to Fed. R. Bankr. P. 7001(9), Plaintiffs request that this Court enter
                                                          28
                                                                                                          25
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                     Main Document    Page 25 of 27
                                                           1   judgment determining and declaring that the Term of the Development Agreement has been
                                                           2
                                                               automatically extended to January 1, 2026 pursuant to Sections 7(e) and (i) of the
                                                           3
                                                               Development Agreement.
                                                           4
                                                           5          WHEREFORE, Plaintiffs pray for judgment and other relief against the City as

                                                           6   follows:
                                                           7
                                                                          a. Pursuant to Fed. R. Bankr. P. 7001(9), a judgment determining and declaring
                                                           8
                                                                             that the Term of the Development Agreement has been automatically
                                                           9
                                                          10                 extended to January 1, 2026 pursuant to Sections 7(e) and (i) of the

                                                          11                 Development Agreement.
                                                          12
                                                                          b. For an award of attorneys’ fees and costs pursuant to, among other things, the
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                       Phoenix, Arizona 85004-2202




                                                          13
                                                                             Development Agreement.
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                                                          15              c. Such other and further relief as this Court or other trier of facts deems just

                                                          16                 and appropriate under the circumstances.
                                                          17
                                                                                                          COUNT VI
                                                          18
                                                                                                   (Inverse Condemnation)
                                                          19
                                                          20                                           (Plaintiffs v City)

                                                          21          151.   Plaintiffs repeats and realleges each and every assertion of its Complaint as if
                                                          22
                                                               set forth herein.
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28
                                                                                                         26
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41            Desc
                                                                                     Main Document    Page 26 of 27
                                                           1          152.   Plaintiffs retained vested rights under that certain Development Agreement.
                                                           2
                                                                      153.   Although the Development Agreement was automatically extended by its
                                                           3
                                                               own terms, the City continues to refuse to acknowledge that Plaintiffs have continuing
                                                           4
                                                           5   rights under the Development Agreement.

                                                           6          154.   The City’s actions have damaged the value of Plaintiffs rights in its property.
                                                           7
                                                                      155.   Additionally, through its actions and inactions, the City has been working
                                                           8
                                                               with Blue Ox to divest Plaintiffs of their property rights.
                                                           9
                                                          10          156.   The City has deprived Plaintiffs of all beneficial uses of its property.

                                                          11          WHEREFORE, Plaintiffs pray for judgment and other relief against the City as
                                                          12
                                                               follows:
                   One Arizona Center, 400 E. Van Buren
          Wilmer
                       Phoenix, Arizona 85004-2202




                                                          13
                                                                          a. A judgment in an amount to be determined at trial due to the City’s inverse
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                                                          14
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                                                          15                 condemnation.

                                                          16              b. For an award of attorneys’ fees and costs pursuant to, among other things, the
                                                          17
                                                                             Development Agreement.
                                                          18
                                                                          c. Such other and further relief as this Court or other trier of fact deems just and
                                                          19
                                                          20                 appropriate under the circumstances.

                                                          21          RESPECTFULLY SUBMITTED this 2nd day of July, 2021.
                                                          22
                                                                                                               SNELL & WILMER L.L.P.
                                                          23
                                                          24                                              By: /s/ Christopher H. Bayley
                                                                                                             Christopher H. Bayley
                                                          25                                                 Steven D. Jerome
                                                                                                             James G. Florentine
                                                          26                                                 Molly J. Kjartanson
                                                                                                             One Arizona Center
                                                          27                                                 400 E. Van Buren St., Ste. 1900
                                                                                                             Phoenix, AZ 85004-2202
                                                          28                                                 Attorneys for Debtor Santa Clarita, LLC
                                                                                                          27
                                                          Case 2:21-ap-00178-MCW
                                                                4820-0888-9838
                                                                                      Doc 1 Filed 07/02/21 Entered 07/02/21 15:24:41             Desc
                                                                                     Main Document    Page 27 of 27
